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MAGISTRATE COURT OF DEKALB COUNTY
STATE OF GEORGIA

STATE OFGEORGIA
WARRANT NO: 22W018886

~ RANDAL Q REID

DEFENDANT
WAIVER OF EXTRADITION

| RANDAL Q REID, being present before The HonorableC Jason, Judge of the Magistrate Court of the
DEKALB County, in the custody of the Sheriff ofDEKALB County, GEORGIA and after having been first duly
informed and advised by the said Judge of my right under the laws of the State ofGEORGIA to demand and
procure legal counsel; and having also been informed of the demand made for my surrender to an agent of
the State of LOUISIANA; and having being informed that | am charged in said state with the Offense of
LARCENY;and having been informed of my right to petition for a writ of habeas corpus; and having been
informed to my right to require the issuance and service of an executive warrant of extradition upon me
before | may be require to return to the State of LOUISIANA to answer to said charge alleged to have been
committed by me in said state on July 18, 2022 (Date of Warrant).

Do hereby freely and voluntarily consent to return to said state to answer said charge; and | further

freely and voluntarily waive any and all extradition proceedings, and all formalities there of, in connection

with my said return.
Dated This, the 29 day of November, 2022, at 09:42:08

RANDAL Q REID

The above Waiver of extradition proceedings and other rights was freely and voluntarily executed and
subscribed before me by the above-named Defendant after | had fully informed hinyher of the demand made
for his/her surrender to the agent of the demanding state, and after | had fully informed hin/her of the other

rights which he/she freely and voluntarily waived
It is HEREBY ORDERED that the Sheriff of DEKALB County , GEORGIA, forthwith deliver said Defendant

to the duly accredited agent or agents of the demanding State for the purpose of returning hin/her to said

Done in the DEKALB CountyGEORGIA, This 29 day of November, 2022, at 09:42:00 AM

C Jason, Magistrate Court DEKALB County

PLAINTIFF'S
i EXHIBIT

